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 6                         IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
 8
 9   Simran Mudher,                                      No. CV-17-02146-PHX-GMS
10                   Plaintiff,                          ORDER
11   v.
12   National Collection Systems Incorporated,
13                   Defendant.
14
15            The Court has been advised that this case has settled (Doc. 29).
16            IT IS THEREFORE ORDERED that this matter will, without further Order of
17   this Court, be dismissed with prejudice within 60 days of the date of this Order unless a
18   stipulation to dismiss is filed prior to the dismissal date.
19            IT IS FURTHER ORDERED vacating any pending hearings, including the
20   Telephonic Status Conference set for August 28, 2018 and the Settlement Conference set
21   for September 28, 2018 before Magistrate Judge Fine.
22            IT IS FURTHER ORDERED denying all pending motions as moot.
23            IT IS FURTHER ORDERED directing the Clerk of Court to terminate this
24   matter on September 28, 2018 without further leave of Court.
25            Dated this 30th day of July, 2018.
26
27                                Honorable G. Murray Snow
                                  United States District Judge
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